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4                             UNITED STATES DISTRICT COURT
5                                    DISTRICT OF NEVADA
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7     BRIT AUGBORNE, III,                            Case No. 2:21-cv-01851-RFB-VCF
8            Petitioner,                                           ORDER
9             v.
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      WARDEN WILLIAMS, et al.,
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             Respondents.
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14          On October 6, 2021, the Court received, from Brit Augborne, III, an individual
15   incarcerated at Nevada’s High Desert State Prison, a petition for writ of habeas corpus
16   pursuant to 28 U.S.C. § 2254. ECF No. 1-1. The petition has not been filed because
17   Augborne did not pay the filing fee or file an application to proceed in forma pauperis.
18   Because Augborne did not pay the filing fee or apply for in forma pauperis status, the
19   Court will summarily dismiss this case without prejudice.
20          If Augborne wishes to pursue a federal habeas corpus action, he must initiate a
21   new case by submitting a habeas petition and either pay the $5 filing fee or file a fully
22   completed application to proceed in forma pauperis, including the required financial
23   certificate.
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1           IT IS THEREFORE ORDERED that this action is dismissed without prejudice.

2           IT IS FURTHER ORDERED that the petitioner is denied a certificate of

3    appealability.

4           IT IS FURTHER ORDERED that the Clerk of the Court is directed to enter

5    judgment accordingly.
          IT IS FURTHER ORDERED that the Clerk of the Court is directed to send to
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7    Petitioner, along with a copy of this order, a copy of his habeas petition (ECF No. 1-1)

8    and the forms for a petition for writ of habeas corpus pursuant to 28 U.S.C. § 2254 and

9    an application by a prisoner to proceed in forma pauperis.
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            IT IS FURTHER ORDERED that the Plaintiff may move to reopen this case and
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     vacate the judgment by filing a motion for reconsideration of this order. In this motion, the
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     Plaintiff is required to explain what circumstances delayed him from paying the filing fee
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     or filing the IFP application. If the Court finds there to be good cause or a reasonable
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15   explanation therein, the Court will reopen the case and vacate the judgment.

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            DATED THIS 14th day of Octobe, 2021.
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21                                             RICHARD F. BOULWARE, II,
                                               UNITED STATES DISTRICT JUDGE
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